Filed 8/21/24 Lumbo v. Kelly Services Global CA4/1
                   NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for publication or
ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication or ordered published for
purposes of rule 8.1115.


                  COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                       DIVISION ONE

                                              STATE OF CALIFORNIA



ROMEO LUMBO,                                                                 D082740

          Plaintiff and Respondent,

          v.                                                                 (Super. Ct. No. 37-2022-
                                                                             00049230-CU-OE-CTL)
KELLY SERVICES GLOBAL, LLC,

          Defendant and Appellant.


          APPEAL from an order of the Superior Court of San Diego County,
Joel R. Wohlfeil, Judge. Affirmed.
          Duane Morris, Shireen Y. Wetmore and Eden E. Anderson for
Defendant and Appellant.
          Mashiri Law Firm and Alex Asil Mashiri; The Jami Law Firm and
Tamim Jami for Plaintiff and Respondent.
          Kelly Services Global, LLC appeals from an order denying its motion to
compel arbitration of a Private Attorneys General Act of 2004 (Lab. Code,
§ 2698 et seq.; PAGA) action brought by a former employee, Romeo Lumbo.
Kelly moved to compel arbitration of Lumbo’s individual PAGA claims
pursuant to a written arbitration agreement. The trial court denied Kelly’s
motion because the complaint did not allege any individual PAGA claims and
there was nothing to compel to arbitration.
      We conclude the trial court erred when it determined Lumbo’s
complaint did not allege any individual PAGA claims. Nevertheless, we
agree with the court that Lumbo’s individual PAGA claims were not subject
to arbitration, although for a different reason: because those claims were
excluded by the parties’ arbitration agreement. The agreement’s “waiver”
provision, which carves out “any form of a . . . representative proceeding,”
precludes arbitration of Lumbo’s individual PAGA claims. Because the
parties’ agreement to arbitrate does not encompass Lumbo’s individual PAGA
claims, the court did not err in finding there was nothing to arbitrate. We
affirm the trial court’s order denying Kelly’s motion to compel arbitration.
                                       I.
      Kelly is a temporary staffing agency that supplies labor to companies in
California. Lumbo is a former nonexempt employee of Kelly. In connection
with his employment, Lumbo signed an agreement to arbitrate “all common-
law and statutory claims relating to [his] employment.” The agreement
contained a provision titled, “Waiver of Class and Collective Claims.” Under
this provision, the parties agreed that “all claims subject to this agreement
will be arbitrated only on an individual basis,” and they “waive the right to
participate in or receive money or any other relief from any class, collective,
or representative proceeding.” The parties further agreed, “No party may
bring a claim on behalf of other individuals, and no arbitrator hearing any
claim under this agreement may . . . arbitrate any form of a class, collective,
or representative proceeding.”
      The agreement also has a “Savings Clause &amp; Conformity Clause” that
requires provisions that conflict with applicable law to be displaced and, if


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necessary, severed. The clause states, “If any provision of this Agreement is
determined to be . . . in conflict with a mandatory provision of applicable law,
it shall be construed to incorporate any mandatory provision.” It also
provides that “the unenforceable or conflicting provision shall be
automatically severed and the remainder of the Agreement shall not be
affected.” Finally, it states that “if the Waiver of Class and Collective Claims
is found to be unenforceable, then any claim brought on a class, collective[,]
or representative action basis must be filed in a court of competent
jurisdiction, and such court shall be the exclusive forum for such claims.”
      In 2022, Lumbo filed a complaint against Kelly asserting two PAGA
causes of actions based on Labor Code violations. It alleged that Lumbo “is
an ‘aggrieved employee’ because he was employed by [Kelly] and had one or
more alleged violations committed against him.” It also alleged he and other
employees “earned additional nondiscretionary compensation, such as, for
example, bonuses.” It further alleged Kelly “failed to appropriately factor in
additional nondiscretionary payments and compensation . . . for purposes of
computing the appropriate rate of pay for sick leave wages.” Finally, it
alleged Kelly failed to provide Lumbo with his complete payroll and
personnel records upon request.
      Kelly filed a motion to compel arbitration of Lumbo’s individual PAGA
claims, and to dismiss or stay Lumbo’s non-individual PAGA claims. Kelly
based its motion on Viking River Cruises, Inc. v. Moriana (2022) 596 U.S. 639(Viking), which established that PAGA claims are divisible into individual
and non-individual components, and the individual claims are arbitrable. In
response, Lumbo argued the agreement did not cover his individual or non-
individual PAGA claims. He also argued the agreement was unconscionable
and it contained a wholesale PAGA waiver in violation of Iskanian v. CLS


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Transportation Los Angeles, LLC (2014) 59 Cal.4th 348 (Iskanian). The trial
court denied Kelly’s motion, finding Lumbo’s complaint “allege[d] only a
representative action” and concluding “[t]here is nothing to compel to
arbitration.”
                                       II.
      The parties do not dispute that the trial court erred when it found that
Lumbo’s complaint did not assert any individual PAGA claims. The court’s
error is understandable given the lack of “clarity” in PAGA terminology and
the evolving case law in this area. (See Galarsa v. Dolgen California, LLC
(2023) 88 Cal.App.5th 639, 647-648.) Lumbo nevertheless argues that he and
Kelly agreed to exclude both his individual and non-individual PAGA claims
from arbitration through the waiver provision in the agreement. We agree.
                                       A.
      PAGA “authorizes an employee to bring an action for civil penalties on
behalf of the state against his or her employer for Labor Code violations
committed against the employee and fellow employees, with most of the
proceeds of that litigation going to the state.” (Iskanian, 59 Cal.4th at
p. 360.) “The civil penalties recovered on behalf of the state under the PAGA
are distinct from the statutory damages to which employees may be entitled
in their individual capacities.” (Id. at p. 381.) A PAGA action is, therefore,
an enforcement action designed to protect the public without benefitting
private parties. (Id. at p. 387.)
      Iskanian held that “an arbitration agreement requiring an employee as
a condition of employment to give up the right to bring representative PAGA
actions in any forum is contrary to public policy.” (Iskanian, 59 Cal.4th at
p. 60.) This is true regardless of whether the waiver is construed broadly—as
waiving the right to act as an agent of the state for purposes of PAGA


                                       4
enforcement—or more narrowly—as only waiving the right to pursue non-
individual claims. Similarly, an arbitration agreement between the employee
and employer provides no basis to arbitrate non-individual PAGA claims
“because the state is the owner of the claim and the real party in interest,
and the state was not a party to the arbitration agreement.” (Correia v. NB
Baker Electric, Inc. (2019) 32 Cal.App.5th 602, 621-622.) As Viking confirms
and the parties do not dispute, these aspects of Iskanian are not preempted
by the FAA and remain good law. (Viking, 596 U.S. at 656-659.)
      Although Viking changed the portion of Iskanian that prohibited
splitting a PAGA action into individual claims (which were subject to
arbitration) and non-individual claims (which could not be arbitrated), it did
not change the bedrock principle that both individual and non-individual
PAGA claims remain representative in nature. (Viking, 596 U.S. at p. 648.)
Indeed, every PAGA action—individual and/or non-individual PAGA claims—
is considered a representative proceeding because it is brought on behalf of
the state. (Ibid.; DeMarinis v. Heritage Bank of Commerce (2023)
98 Cal.App.5th 776, 11 (DeMarinis) [concluding every PAGA action is
representative, including individual PAGA claims].)
                                       B.
      Lumbo’s complaint alleged he was an “aggrieved employee” and that
Kelly committed “one or more . . . alleged violations” against him. It stated
he earned “additional nondiscretionary” compensation that Kelly failed to
“appropriately factor” into his sick leave wages. It also alleged he requested
his complete payroll and personnel records, which Kelly failed to provide.
Due to these alleged violations, he sought to recover civil penalties, attorneys’
fees, and costs. Lumbo’s complaint thus alleged individual PAGA claims and
the trial court erred in finding otherwise.


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                                       C.
      The waiver provision here excludes from arbitration “any form of a . . .
representative proceeding.” The phrase is broad and unambiguous and does
not contain any qualifying language to narrow its scope. “The fundamental
canon of interpreting written instruments is the ascertainment of the intent
of the parties.” (Ticor Title Ins. Co. v. Rancho Santa Fe Assn. (1986)
177 Cal.App.3d 726, 730.) The parties “are free to define the scope of
arbitration as narrowly or broadly as they choose.” (FCM Investments, LLC
v. Grove Pham, LLC (2023) 96 Cal.App.5th 545, 459.)
      The parties could have used qualifying language to narrowly define the
phrase “representative proceeding.” For example, in Gregg v. Uber
Technologies, Inc. (2023) 89 Cal.App.5th 786, the arbitration agreement
narrowly defined “representative action” by qualifying the phrase as
“‘representative action on behalf of others under [PAGA].’” (Id. at p. 798.)
The agreement also stated that “‘for any claim brought on a private attorney
general basis—i.e. where [you are] seeking to pursue a claim on behalf of a
government entity—both [you] and [Uber] agree that any such dispute shall
be resolved in arbitration on an individual basis only.’” (Id. at p. 797.) Given
the parties agreement to narrowly define “representative action,” the court
rejected the employee’s argument that the phrase also included individual
PAGA claims. (Id. at p. 800.) Similarly, in Seifu v. Lyft, Inc. (2023)
89 Cal.App.5th 1129, the arbitration agreement narrowly defined
“representative action” by qualifying it as “representative action on behalf of
others under [PAGA].” (Id. at p. 1135.) The agreement included language
stating “for any claim brought on a private attorney general basis, including
under the California PAGA, both you and Lyft agree that any such dispute
shall be resolved in arbitration on an individual basis only.” (Ibid.) The


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court concluded that, given the context, “representative” was intended to
exclude individual PAGA claims. (Id. at p. 1139.)
      Here, by contrast, there is no such language limiting the type of
representative proceeding excluded from arbitration. Because every PAGA
action—whether pursuing individual and/or non-individual claims—is a type
of representative proceeding brought on behalf of the state, (DeMarinis,
98 Cal.App.5th at p. 11), Lumbo’s claims—both individual and non-
individual—are excluded from arbitration.
      Our conclusion is consistent with other cases interpreting similar
contract language. Indeed, the language of the waiver provision and the
“Savings Clause &amp; Conformity Clause” is nearly identical to the same
provisions in Westmoreland v. Kindercare Education LLC (2023)
90 Cal.App.5th 967, 971-972, where the court held that both the so-called
“individual” and “nonindividual” portions of the PAGA claim had to be
litigated in court. Although the “Savings Clause &amp; Conformity Clause” here
generally allows invalid provisions to be separated, it contains an explicit
exception for the waiver provision. It provides that if the waiver provision is
unenforceable, then any representative claims “must be filed in a court of
competent jurisdiction, and such court shall be the exclusive forum for such
claims.” As in Westmoreland, this agreement precludes litigation of the
“individual” portion of a PAGA claim in one forum (arbitration) and the
“nonindividual” portions in another forum (court). (See also DeMarinis,
98 Cal.App.5th at p. 790.) The “poison pill” provision in Westmoreland does
not change the outcome because, as Lumbo asserted at oral argument, the
agreement here contains a “partial poison pill” provision that was triggered
by the PAGA claim.




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      To support its argument that a “representative proceeding” includes
only non-individual PAGA claims, Kelly cites, among other cases, Piplack v.
In-N-Out Burgers (2023) 88 Cal.App.5th 1281 (Piplack). But Piplack involved
the interpretation of unique language that is not found here. There, the
arbitration agreement included a wholesale waiver precluding any “private
attorney general action.” It also included a severability clause stating that
the “‘Private Attorney General Waiver . . . shall be severable in any case in
which the dispute is filed as an individual action and severance is necessary
to ensure that the individual action proceeds in arbitration.’” (Id. at p. 1285.)
The court concluded that because plaintiff’s PAGA action is both for
individual and non-individual PAGA claims, it triggered the severability
clause, mandating the individual claim be arbitrated. (Id. at pp. 1288-1289.)
      Kelly also cited additional nonbinding cases, including federal district
court orders, and asked us to take judicial notice of two unpublished superior
court decisions, Fischer v. Kelly Services Global, LLC (June 15, 2023, No. 30-
2023-01304927-CU-OE-CXC [nonpub. opn.]) and Figueroa v. Beckman
Coulter, Inc. (May 5, 2023, No. 34-2022-00323923-CU-OE-GDS [nonpub.
opn.]) (See Evid. Code, §§ 451(a) and 452(d); Sosinsky v. Grant (1992)
6 Cal.App.4th 1548, 1564.) We decline Kelly’s request. (See e.g., City of
Bakersfield v. West Park Home Owners Assn. &amp; Friends (2016) 4 Cal.App.5th
1199, 1210 [denying request for judicial notice]; Bolanos v. Superior Court
(2008) 169 Cal.App.4th 744, 761 [same].)
      We conclude that Lumbo’s individual PAGA claims fall within the scope
of the phrase “any form of a . . . representative proceeding” and are therefore
categorically excluded from arbitration. Thus, his individual PAGA claims
cannot be compelled to arbitration. (United Steelworkers of America v.
Warrior &amp; Gulf Navigation Co. (1960) 363 U.S. 574, 582 [“arbitration is a


                                        8
matter of contract and a party cannot be required to submit to arbitration
any dispute which he has not agreed so to submit.”].) Given our conclusion,
we do not reach Kelly’s other arguments on appeal.
                                      III.
      We affirm the trial court’s order denying Kelly’s motion to compel
arbitration. Lumbo is entitled to his costs on appeal.




                                                               CASTILLO, J.

WE CONCUR:



DATO, Acting P. J.



BUCHANAN, J.




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